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                                     January 27, 2021

VIA ECF

The Honorable Loretta A. Preska
District Court Judge
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:    Giuffre v. Maxwell, Case No. 15-cv-7433-LAP

Dear Judge Preska,

        Pursuant to the Court’s orders dated January 19 and January 26, 2021 (ECF No. 1193),
Plaintiff files the documents ordered unsealed listed in Exhibit F to Defendant’s Reply
Memorandum of Law in Further Support of Objections to Unsealing Sealed Materials Related to
Docket Entries 231, 279, 315, 320, and 335 (ECF No. 1167-2), as attachments hereto. Material
subject to this Court’s January 26, 2021, order remains redacted. ECF No. 1193.

                                          Sincerely,

                                          /s/ Sigrid McCawley
                                          Sigrid S. McCawley, Esq.


       cc: Counsel of Record (via ECF)
